    Case: 1:24-cv-10972 Document #: 1-3 Filed: 10/24/24 Page 1 of 3 PageID #:73




                        Exhibit C
Second Amendment to Zero Hash LLC
    Platform Operator Agreement
DocuSign Envelope ID: 012F9887-10DE-4C43-BE42-68F3592C474D
                  Case: 1:24-cv-10972 Document #: 1-3 Filed: 10/24/24 Page 2 of 3 PageID #:74



                SECOND AMENDMENT TO ZERO HASH LLC PLATFORM OPERATOR AGREEMENT


            This Second Amendment (the “Second Amendment”) to the Zero Hash LLC Platform Operator Agreement
            (the “Agreement”) is made and entered into on February 22, 2021, by and between Zero Hash LLC (“Zero
            Hash”) and Coinme, Inc. (“Platform Operator”) (collectively, the “Parties”). The Agreement was entered
            into between Zero Hash and Platform Operator on March 16, 2020, and amended on June 26, 2020. The
            Parties hereby wish to amend the Agreement as follows with insertions underlined:
                 1. Subparagraph 9 is added to Section 6 (Zero Hash Representations) as follows:
                     9. During the Initial Term or the Renewal Term, and for a period of one (1) year after the
                        expiration or earlier termination of the Initial Term or the Renewal Term, Zero Hash will not
                        induce, influence, or encourage, any client, customer, supplier, business partner or other similar
                        third party of Platform Operator (each, a “Platform Operator Partner”) to alter, terminate, or
                        breach its contractual or other business relationship with Platform Operator.
                 2. The following provisions and subparagraphs are added to Section 8.1 (Intellectual Property) as
                    follows:
                     Platform Operator has exclusive ownership of and rights to the software (the “Platform Operator
                     Software”) used by Platform Operator to provide individuals the ability to exchange fiat currency
                     for bitcoin at physical kiosks and store bitcoin in a hosted digital currency wallet (the “Kiosk
                     Service”), its use and content, as well as all related copyrights, trademarks, service marks, patent
                     rights, and trade secrets and any other intellectual property rights therein (registered or
                     unregistered) including any applications anywhere in the world.
                     Zero Hash will not:
                         a. Copy, modify, create derivative works from, reverse engineer, reverse assemble, or reverse
                            compile any technology included in the Platform Operator Software or the Platform
                            Operator Platform;

                         b. Remove, obscure, or alter any copyright, trademark, patent, or other notices or legends
                            contained in any documentation or other materials produced, distributed, or published by
                            Platform Operator;

                         c. Distribute, rent, sell, lease, redistribute, release, or license the Platform Operator Software
                            or the Platform Operator Platform, or any part thereof, to any third party or otherwise allow
                            access by a third party, other than its authorized employees;

                         d. Take or authorize any action that could detrimentally interfere with the performance of the
                            Platform Operator Software or Platform Operator Platform, use any robot, spider, or other
                            device or process to monitor or copy the Platform Operator Software or Platform Operator
                            Platform, or knowingly transmit any virus or other potentially harmful device in connection
                            with its use of the Platform Operator Software or Platform Operator Platform; or

                         e. Assist or encourage any third party to engage in any activity prohibited under Subsections
                            8.1.a through 8.1.d of this Agreement.


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                  Case: 1:24-cv-10972 Document #: 1-3 Filed: 10/24/24 Page 3 of 3 PageID #:75




            IN WITNESS WHEREOF, the Parties below have caused to be executed or executed this Second
            Amendment as of the day and year first written above.


            PLATFORM OPERATOR                                     ZERO HASH LLC


            By: ______________________________                    By: _____________________________

            Name:Sung Woo Choi                                    Name:Edward Woodford

            Title: VP of Corporate Development                    Title: CEO




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